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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MICHAEL FARRINGTON,
              Plaintiff                                   CIVIL ACTION

              v.

COUNTY OF BUCKS, PA et al.,                               No.17-5826
              Defendants


                                          ORDER

       AND NOW, this 10 th day of February, 2020, upon consideration of Plaintiffs motion to

compel the payment of settlement funds (Doc. No. 70), and the parties' letter representing that

they have mutually agreed to a resolution to the motion, it is ORDERED that the motion (Doc.

No. 70) is DEEMED MOOT.

                                                   BY THE COURT':(         /'J
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